                                         Case 21-80420-JJG-7A                   Doc 85 FiledFORM 1
                                                                                               04/28/22  EOD 04/28/22                           17:50:47          Pg 1 of Page
                                                                                                                                                                          4 No:
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                                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                         ASSET CASES

Case No.:                       21-80420                                                                                                          Trustee Name:                        Lou Ann Marocco
Case Name:                      JET FARMING LLC                                                                                                   Date Filed (f) or Converted (c):     10/12/2021 (f)
For the Period Ending:          03/31/2022                                                                                                        §341(a) Meeting Date:                11/16/2021
                                                                                                                                                  Claims Bar Date:                     12/21/2021
                                   1                                                2                          3                            4                        5                                     6

                       Asset Description                                        Petition/             Estimated Net Value                Property              Sales/Funds           Asset Fully Administered (FA)/
                        (Scheduled and                                        Unscheduled            (Value Determined by                Abandoned             Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                     Value                      Trustee,               OA =§ 554(a) abandon.        the Estate
                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)

Ref. #
1        Cash on hand                                                                    $0.00                            $0.00                                           $0.00                                        FA
2        German American Bank 9 5 0 1 Checking                                          $51.94                         Unknown                                            $0.00                                  Unknown
3        Hudson Trailer (homemade)                                                   $500.00                            $500.00                                           $0.00                                   $500.00
Asset Notes:     Amended REPORT of SALE doc #73, dated 4/20/2022, per Order Granting Motion to Sell, dtd 01-12-22, doc #52.
4      Farm machinery and equipment (Other than                                $108,500.00                            $0.00                                               $0.00                                $108,500.00
       titled motor vehicles) - SEE ASSET NOTE
Asset Notes:     Amended REPORT of SALE doc #73, dated 4/20/2022, per Order Granting Motion to Sell, dtd 01-12-22, doc #52:
                      Fuel Tank Wagon $3,000.00 - sold for $4,500.00
                      John Deere 7230 (loader) $58,000.00 - sold for $59,500.00
                      John Deere 4840 $7,000.00 (#1) - sold for $10,500.00

                   Petition to Sell filed 4/18/22, doc # 72:
                       John Deere 500 Grain Cart $3,500.00 --
                       John Deere 4840 (#2) $7,000.00 --

                   Not Sold:
                    ***New Holland Bulldozer D95 $30,000.00 (this asset is in the companion case #21-80400)
5        1978 International Loadstar Truck                                        $4,000.00                           $4,000.00                                           $0.00                                  $4,000.00
Asset Notes:   REPORT of SALE doc #75, dated 4/20/2022, per Order Granting Motion to Sell, dtd 04/14-22, doc #69.
6      ***1997 Hillsboro #300 33' Trailer                                  $1,500.00                                      $0.00                                           $0.00                                        FA
Asset Notes:     This asset is owned by companion case #21-80400, Tim Schutter #21-80400.
7      Other contingent and unliquidated claims or                        $2,800,000.00                            $2,800,000.00                                          $0.00                                        FA
       causes of action of every nature, including
       counterclaims of the debtor and rights to set off
       claims:
Asset Notes:     Farmers Mutual 2020 Crop 2,800,000.00 (insurance claim)
                 Hail Insurance Insurance Claims Company of Iowa $2,800,000.00
                 FSA Payments
                 FSA Payments 1.00 $Unknown

                   Secured Creditor, Agrifund, has a lien on the crop insurance proceeds.
8        Possible NOLO                                              (u)                  $0.00                         Unknown                                            $0.00                                  Unknown
9        John Deere 643 Corn Head (parts only)                      (u)                  $0.00                            $0.00                                           $0.00                                        FA
Asset Notes:       TE filed to abandon on 4/20/22, doc #76
                                      Case 21-80420-JJG-7A                   Doc 85 FiledFORM 1
                                                                                            04/28/22  EOD 04/28/22                               17:50:47          Pg 2 of Page
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                                                                                      ASSET CASES

Case No.:                    21-80420                                                                                                              Trustee Name:                        Lou Ann Marocco
Case Name:                   JET FARMING LLC                                                                                                       Date Filed (f) or Converted (c):     10/12/2021 (f)
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                      (Scheduled and                                     Unscheduled                  (Value Determined by                Abandoned             Received by           Gross Value of Remaining Assets
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                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

10      2012 John Deere 7000 Row Planter                       (u)                  $0.00                              $1,950.00                                           $0.00                                  $1,950.00
Asset Notes:     Amended REPORT of SALE doc #73, dated 4/20/2022, per Order Granting Motion to Sell, dtd 01-12-22, doc #52.
11     International 1206 Wide Front Turbo Tractor         (u)                 $0.00                            $10,000.00                                                 $0.00                                 $10,000.00
Asset Notes:     Amended REPORT of SALE doc #73, dated 4/20/2022, per Order Granting Motion to Sell, dtd 01-12-22, doc #52.
12     15' Batwing Bush Hog Mower 2715                     (u)                 $0.00                              $6,100.00                                                $0.00                                  $6,100.00
Asset Notes:    Amended REPORT of SALE doc #73, dated 4/20/2022, per Order Granting Motion to Sell, dtd 01-12-22, doc #52.
13      VOID-entered in error                                                 $0.00                                  $0.00                                                 $0.00                                        FA


TOTALS (Excluding unknown value)                                                                                                                                                           Gross Value of Remaining Assets
                                                                          $2,914,551.94                             $2,822,550.00                                          $0.00                                $131,050.00



Major Activities affecting case closing:
 04/25/2022    Corrected motion to sell filed
 04/20/2022    executed auction contract
 04/20/2022    filed amended Report of Sale
 04/20/2022    Filed amended Report of Sale
 04/20/2022    Amended Motion to Sell filed
 04/20/2022    Filed amended report of sale
 04/20/2022    Form 1 matches the Amended Report of Sale docket 73 filed re the Jack Christy check
 04/20/2022    Filed notice of abandonment John Deere 643 corn head (parts only)
 04/20/2022    Filed App to pay Christy's of Indiana, Inc.
 04/19/2022    review proposed contract re auctioneer.
 04/19/2022    issued check to insurance company
 04/18/2022    filed app to employ auctioneer
 04/18/2022    Motion to sell filed
 04/15/2022    Rev order granting m to sell
 04/15/2022    Review order granting Motion to sell
 04/07/2022    TC with counsel re resolution of Agrifund's contested security agreement
 04/06/2022    deposit check
 04/04/2022    review order granting mls
 03/22/2022    Filed m to sell 1978 International Loadstar
 03/22/2022    Review and approve report of sale
 03/14/2022    Agreed MLS filed
                                      Case 21-80420-JJG-7A                  Doc 85 FiledFORM 1
                                                                                           04/28/22  EOD 04/28/22                          17:50:47          Pg 3 of Page
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                                                                    INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                     ASSET CASES

Case No.:                    21-80420                                                                                                        Trustee Name:                        Lou Ann Marocco
Case Name:                   JET FARMING LLC                                                                                                 Date Filed (f) or Converted (c):     10/12/2021 (f)
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                     Asset Description                                      Petition/                 Estimated Net Value           Property              Sales/Funds           Asset Fully Administered (FA)/
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                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)

 03/11/2022    Sent counsel email
 03/08/2022    Sent email to trustee insurance requesting that policy be cancelled on equipment
 03/08/2022    Issued check to insurance agency and cancelled policy
 03/04/2022    Tc with Joe Mulvey
 03/04/2022    Review and approve agreed motion to lift stay as to crop insurance arbitration claim
 03/04/2022    Tc with Joseph Mulvey
 02/02/2022    review order granting mls
 02/02/2022    Mailed check to Trustee Insurance Agency
 01/28/2022    review order on agreed entry
 01/27/2022    attended hearing on MLS
 01/19/2022    Objection to MLS filed
 01/18/2022    TC re Agrifund MLS
 01/13/2022    reviewed mail re insurance (from RCIS) and forwarded to atty Mulvey
 01/12/2022    Review order granting MTO
 01/12/2022    review order granting motion to sell
 01/04/2022    review agrifund MLS
 12/31/2021    rev poc of Timthy Schutter
 12/21/2021    Motion for Turnover filed
 12/16/2021    Attended hearing on multiple issues; objection to mls denied
 12/10/2021    Review Response to TEE's Objection to mls
 12/03/2021    Review order granting app to employ Christy's
 11/17/2021    Filed ROA
 11/17/2021    rev objection to mls
 11/17/2021    Filed App to employ Christy's
 11/16/2021    Filed amended exemption to mls
 11/12/2021    Objection MLS filed
 11/08/2021    review order granting app to employ Joseph Mulvey
 11/05/2021    TC with Joseph Mulvey
 11/03/2021    rev mls
 10/21/2021    Appearance filed by Joe Mulvey
 10/21/2021    Filed App to employ Mulvey Law
 10/20/2021    Assets marked with *** are also listed in Debtor's companion case #21-80400, Timothy Neal Schutter.
                                      Case 21-80420-JJG-7A           Doc 85 FiledFORM 1
                                                                                    04/28/22  EOD 04/28/22                        17:50:47          Pg 4 of Page
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                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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Case No.:                    21-80420                                                                                               Trustee Name:                        Lou Ann Marocco
Case Name:                   JET FARMING LLC                                                                                        Date Filed (f) or Converted (c):     10/12/2021 (f)
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                                                                                          and Other Costs)


Initial Projected Date Of Final Report (TFR):   05/31/2023                    Current Projected Date Of Final Report (TFR):       05/31/2023               /s/ LOU ANN MAROCCO
                                                                                                                                                           LOU ANN MAROCCO
